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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                            SCHEDULING ORDER

         Pursuant to the scheduling order entered on June 12, 2019 (ECF No. 1175), claimant Pavel Laza-

renko filed his response to the government’s submission regarding his notice of partial withdrawal of claim

(ECF Nos. 1144, 1149) on July 23, 2019.1 ECF No. 1188. That response included a cross-motion for

partial summary judgment. ECF Nos. 1188 at 4–9, 1190. The parties have agreed to a schedule for further

briefing on these issues. It is therefore

         ORDERED that the government’s reply to claimant Pavel Lazarenko’s submission of July 23,

2019 (originally due on August 5, 2019), and its opposition to his cross-motion for partial summary judg-

ment shall be filed on or before August 26, 2019. It is further

         ORDERED that claimant Pavel Lazarenko’s reply in further support of his cross-motion for partial

summary judgment shall be filed on or before September 5, 2019.

         SO ORDERED.
                                                                         Digitally signed by
                                                                         G. Michael Harvey
                                                                         Date: 2019.07.29
Dated: July 29, 2019                                                     13:23:36 -04'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE

1
  The response was due on July 22, 2019. The Court’s ECF system reflects that it was filed at 12:08 a.m. on July 23,
2019. No party has suggested that there should be adverse cnsequences from the fact that the filing was eight minutes
late.
